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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 SAMSUNG ELECTRONICS CO., LTD.,                      )
 LG ELECTRONICS INC., and THE TRUSTEES               )
 OF COLUMBIA UNIVERSITY IN THE CITY                  )
 OF NEW YORK,                                        )
                                                     )     C.A. No. 08-348-GMS
                         Plaintiffs,                 )
                                                     )     JURY TRIAL DEMANDED
           v.                                        )
                                                     )
 PETTERS GROUP WORLDWIDE, LLC,                       )
 POLAROID CORPORATION,                               )
 WESTINGHOUSE DIGITAL                                )
 ELECTRONICS, LLC and                                )
 WESTINGHOUSE DIGITAL, LLC,                          )
                                                     )
                        Defendants.                  )

                  STIPULATION AND (PROPOSED) ORDER OF DISMISSAL

           IT IS HEREBY STIPULATED by and between plaintiffs Samsung Electronics Co., Ltd.,

 LG Electronics, Inc. and The Trustees of Columbia University in the City ofNew York, and the

 sole remaining defendant, Westinghouse Digital, LLC, through their undersigned attorneys, that

 the above-captioned action is voluntarily dismissed without prejudice pursuant to

 Rule 41(a)(l)(A)(ii) of the Federal Rules of Civil Procedure, with each party to bear its own

 attorney's fees, costs and other expenses.

           IT IS HEREBY ORDERED that the Clerk of Court shall administratively close this

 action.
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                                 1,                .J_
         SO ORDERED this _1L_ day     of~~~°4i-F--}~_




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